Case 2:05-cv-02476-SHI\/|-dkv Document 4 Filed 08/24/05 Page 1 of 3 Page|D 6

 

 

 

IN TI-IE U`NITED STATES DISTRICT COURT FII.ED BY___ ____D,C,
FOR THE WESTERN DISTRICT OF TENNESSEE
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X Cl£RKRl§ 53 neglng Colm
FREDERICK MASSEY, x W./i,»‘." 'Ye%'“.i-JiPHS
X
Plaintiff, X
X
vs. X No. 05-2476-Ma/V
X
CORRECTIONAL MEDIC'AL SERVICES, X
et al., X
X
Defendants. X
X
SECOND ORDER CORRECTING 'I'HE DOCK.ET
ORDER DIRECTING CLERK TO MAIL JULY 15, 2005 ORDER TO
PLAINTIFF' S CORRECT ADDRESS
AND
ORDER EXTENDING TIME FOR COMPLIANCE
Plaintiff Frederick Massey, booking number 05106330, an
inmate at the Shelby County Criminal Justice Complex (“Jail”) in

Memphis, filed a pro §§ complaint pursuant to 42 U.S.C. § 1983 on July
5, 2005.1 The Court issued an order on July 15, 2005 that, inter alia,
directed the Clerk to correct the docket to reflect the plaintiff's
correct address at the Jail and directing the plaintiff, within thirty
days, to file the documents required by the Prison Litigation Reform
Act of 1995 (“PLRA”), 28 U.S.C. § 1915(a)~(b), or remit the full civil
filing fee of $250. Because the Clerk did not correct the docket, the

order was mailed to the plaintiff’s former address, and it was returned

 

1 Although there is some ambiguity on the face of the plaintiff's
complaint, the website for the Shelby County Sheriff’s Jail Information Page
indicates that the plaintiff is currently an inmate at the Jail. Accordingly, the
Clerk is ORDERED to correct the docket to reflect the plaintiff‘s current address.

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Case 2:05-cv-O2476-SH|\/|-dkv Document 4 Filed 08/24/05 Page 2 of 3 Page|D 7

by the post office on August l, 2005 with a notation that that address
is currently vacant.

The Clerk is ORDERED, for the second time, to correct the
plaintiff’s address as directed in the July 15, 2005 order. The
plaintiff's mailing address should include his booking number. The
Clerk is further ORDERED to mail the plaintiff another copy of the July
15, 2005 order at his correct address. The time for the plaintiff's

compliance with the July 15, 2005 order is extended to thirty (30) days

after the date of entry of this order.

IT IS SO ORDERED this ‘13" day of August, 2005.

_J/;(//'“L___._»

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

     

 

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Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02476 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

Fredrick Massey

# 0510633

2621 N. Watkins

#5

i\/lemphis7 TN 38127

Honorable Samuel Mays
US DISTRICT COURT

